     Case 3:07-cr-00746-WQH         Document 147      Filed 10/18/11    PageID.349      Page 1 of 1




                    vs.                               JUDGMENT OF DISMISSAL
 MARIA DE LOURDES GONZALEZ
 MORENO (7),

                             Defendant.


          IT APPEARING                  the defendant is now entitled to                   discha
for the reason

       an indictment     been fil   in another case against the defendant and
       the Court has         the motion of the Government     dismissal of
       this case, without prejudice; or

       the Court           dismiss             case        unneces          delay; or

___x_ the Court has granted the motion of                      Government             dismissal,
       without prejudice; or

       the Court   s granted the motion of the defendant for a judgment of
       acquittal; or

       a jury has been waived, and the Court                   s found             defendant not
       guilty; or

       the jury       s returned         s verdict, finding              defendant not guilty;

___
  x _ of       offense(s) as charged in the                     ctment:
       18:371; 18:473 - Conspiracy to Transfer Counterfeit Federal Reserve Notes




             IT IS THEREFORE ADJUDGED that the                   fendant is hereby           scharged.


 DATED: OCTOBER 17, 2011
                                                      WILLIAM Q. HAYES, U                       COURT
                                                      UNITED STATES DIST
